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                                                                           1

 1                UNITED STATES DISTRICT COURT

 2                NORTHERN DISTRICT OF GEORGIA

 3                      ATLANTA DIVISION

 4
     UNITED STATES,             )
 5
                   Plaintiff,   )
 6
     v.                         ) Case No. 1:18-cv-05774-AT
 7
     NANCY ZAK,                 )
 8
     CLAUD CLARK III,           )
 9
     ECOVEST CAPITAL, INC.,     )
10
     ALAN N. SOLON,             )
11
     ROBERT M. MCCULLOUGH,      )
12
     RALPH R. TEAL, JR.,        )
13
                  Defendants.   )
14

15

16            REMOTE VIDEOTAPED DEPOSITION OF

17                    JED CHAIM LINSIDER,

18   a witness herein, called by the Plaintiff for
     examination, conducted at the location of the
19   witness in Atlanta, Georgia, on January 12, 2021,
     commencing at 9:05 a.m. EST, before Ann Medis,
20   Registered Professional Reporter and Notary Public
     in and for the Commonwealth of Pennsylvania.
21

22




                                                                     Exhibit
                                                                 _____________
                                                                      1394




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                                                                          2

 1                   A P P E A R A N C E S

 2            (All participants attended via

 3                Webex videoconference.)

 4

 5   On behalf of Plaintiff

 6             U.S. DEPARTMENT OF JUSTICE, TAX DIVISION

 7             BY:   HARRIS PHILLIPS, ESQUIRE

 8                   ERIN R.HINES, ESQUIRE

 9                   RICHARD ROSE, ESQUIRE

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                 [1/12/2021] Linsider, Jed C. (DEPOSITION)
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                                                                          3

 1           A P P E A R A N C E S (Continued)

 2   On behalf of Defendant Nancy Zak

 3             SIDLEY AUSTIN LLP

 4             BY:   LAURA MULHERIN, ESQUIRE

 5                   BENJAMIN LITTLE, ESQUIRE

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 8             202.736. 8000

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11

12   On behalf of Defendants EcoVest Capital, Alan Solon,

13   Robert McCulloush, Ralph Teal and the Deponent

14             COVINGTON & BURLING, LLP

15             BY:   BENJAMIN J. RAZI, ESQUIRE

16                   MATTHEW MILLER, ESQUIRE

17             One CityCenter, 850 Tenth Street, N.W.

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22           A P P E A R A N C E S (Continued)




                 [1/12/2021] Linsider, Jed C. (DEPOSITION)
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                                                                          4

 1   On behalf of Defendant Claud Clark

 2             CAPLIN & DRYSDALE, CHARTERED

 3             BY:    ROSS SHARKEY, ESQUIRE

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 5             Washington, D.C. 20005

 6             202.862.5000

 7             rsharkey@capdale.com

 8

 9   Also present

10             Joe Townsend, videographer

11

12

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                    [1/12/2021] Linsider, Jed C. (DEPOSITION)
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                                                                          49

 1   Just move on to the next question.

 2             MR. PHILLIPS:   Thanks, Ben.

 3   BY MR. PHILLIPS:

 4        Q.   I think you'll find, Mr. Linsider, our

 5   deposition will go a little bit faster and easier

 6   if you aren't so hung up on some of the

 7   vocabulary.

 8             Now, you stated at the beginning -- let

 9   me start --

10             MR. PHILLIPS:   Amanda, you can take the

11   Excel down, but let's leave the screen share up,

12   please.   You might want to...

13   BY MR. PHILLIPS:

14        Q.   Mr. Linsider, I don't see an Excel

15   coming again for a while.

16             Mr. Linsider, you said earlier that you

17   play a significant role in matters regarding the

18   real estate that's used in these conservation

19   easement deals; right?

20        A.   Yes.

21        Q.   Is there an ending point to the

22   acquisition process?   That is, how do you know




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                                                                          50

 1   when the real estate has been acquired such that

 2   it can now be used for one of these transactions?

 3   Is there a document or some sort of step that's

 4   taken that makes that decision final?

 5        A.   Are you referring to the closing, the

 6   MIPA?

 7        Q.   Yeah.   Is there anything before the MIPA

 8   that would signal that there's been an agreement

 9   by EcoVest to acquire land for one of these deals?

10        A.   Well, the MIPA would be the first

11   binding contract, if you will.

12        Q.   Okay.   What's the role of the Letter of

13   Intent in the process?

14        A.   The Letter of Intent -- when we use a

15   Letter of Intent, it's simply to -- as would be

16   typical in any real estate transaction.    If you're

17   going to spend some money to evaluate a property

18   or a potential use of the property, you want to

19   know that you're going to have some time to do

20   that without anybody else coming in and taking

21   your spot.

22        Q.   How frequently does EcoVest use a Letter




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 1          Q.   The workflow for these deals.

 2          A.   Okay.   Yes.

 3          Q.   Now, it was important to you to include

 4   Mr. Clark in discussions about the pipeline of

 5   these deals, isn't that fair to say?

 6          A.   He was included in these discussions,

 7   yes.

 8          Q.   Okay.

 9          A.   At least in this discussion, the two

10   that you highlighted.

11          Q.   He was regularly included in the

12   pipeline discussions, wasn't he?

13          A.   For deals he was involved with, yes.

14          Q.   We're talking about the core deals.

15          A.   As the appraiser.

16          Q.   So with respect to the core deals, the

17   conservation easement transactions that this case

18   is all about, Mr. Clark, he was in the pipeline

19   discussions?

20          A.   Yes.

21               (Exhibit 172 was marked.)

22




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 1   fair market value for the property at issue in the

 2   Beech Springs deal?

 3        A.     I don't know enough to answer the

 4   question.

 5        Q.     I'm not asking you to verify it or agree

 6   with it.    I'm asking:   As you sit here today, do

 7   you have any reason to dispute it?

 8        A.     I mean, this reads to me as a narrow use

 9   of terminology for purposes of calculating a

10   transfer tax.      So in that context, sure, I have no

11   reason to dispute it.

12        Q.     Great.   Have you heard of an entity

13   Clarion Partners?

14        A.     It does not sound familiar.

15        Q.     C-L-A-R-I-O-N.

16        A.     It does not sound familiar.

17        Q.     Let's go back to the PPM, which was

18   Exhibit 162 with a doc ID ECOVEST-DOJ_0128354.

19        A.     Sorry.   Exhibit which number?

20        Q.     162.

21        A.     Okay.

22        Q.     Now, this was the PPM for Carolina Bays,




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 1   which was a 2014 transaction.

 2        A.   Okay.

 3        Q.   Page 4 of this PDF sets forth some of

 4   the offering details.      I know it's hard to read,

 5   but the property location identifies 115.74 acres.

 6   Do you see that?

 7        A.   I do.    I'm sorry.   I'm just waiting for

 8   it to pull up in the share.

 9        Q.   It will be a lot quicker if you look at

10   the screen share.

11        A.   No, I understand.     I just want to make

12   sure I can have context if I need it.     I'll let

13   the document pull up, and I'll review what's on

14   the screen share while it's coming up.

15        Q.   I'm just directing you to the location,

16   which is 115.74 acres in Horry County.      Do you see

17   that?

18        A.   Okay.    Yep, I do.

19        Q.   Now, PDF page 45 of this document, the

20   Estimated Use of Proceeds, it identifies the MIPA

21   price as 4.6 million roughly.     Do you see that?

22        A.   Okay.    I do.




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 1        Q.     So the price EcoVest paid to acquire the

 2   property or an interest in the entity that held

 3   the property was just shy of 40 percent of the

 4   gross offering proceeds.      That's what's in the

 5   PPM; right?

 6        A.     That looks about right just highballing

 7   the numbers.    If you give me a minute, please, I

 8   want to...

 9        Q.     Well, the percent is in the next column.

10        A.     Fair enough.    Sorry.   I'm looking at it

11   on the screen, and it's small.       So I didn't see

12   the percentages.

13        Q.     No problem.

14        A.     Okay.   Yeah.   I see that.

15        Q.     Now, for the property in the Carolina

16   Bays transaction, did EcoVest actually do any

17   development on the property?

18        A.     Did EcoVest do any development on the

19   property?    Not -- the only development work that

20   would have -- that was done by EcoVest is what's

21   in the file for the offering.

22        Q.     And then the conservation option was




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1    in the life cycle of the project, of the property,

2    which had not had any improvements on it at that

3    point.

 4        Q.     When you negotiated the MIPA, you

 5   thought 4.6 million was a fair price to pay.      Do

 6   you agree with me on that?

 7        A.     I do.

 8        Q.     You agree with me that 50 million would

 9   not have been a fair price to pay?

10        A.     Yes.

11        Q.     Okay.

12               MR. PHILLIPS:   Let's take a little

13   break.    We can do it in just five minutes if that

14   works for you guys.

15               THE VIDEOGRAPHER:   Going off the record

16   at 5:31 p.m.

17               (Recess from 5:31 p.m. to 5:41 p.m.)

18               THE VIDEOGRAPHER:   Back on the record at

19   5:41 p.m.

20               (Exhibit 181 was marked.)

21               MR. PHILLIPS:   Exhibit 181 has doc ID

22   ECOVEST-DOJ_351845.    That's 351845.




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